          Case 1:18-cv-02340-RJL Document 73 Filed 04/18/19 Page 1 of 3
 

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA et al.,

                       Plaintiffs,
                                                           Case No. 1:18-cv-02340-RJL
v.

CVS HEALTH CORPORATION

and

AETNA INC.,

                       Defendants.



        MOTION OF THE UNITED STATES TO TREAT FILINGS AS PART OF
           EVIDENTIARY RECORD IN THE TUNNEY ACT HEARING

       The Court’s April 8, 2019 Order provides that, at an upcoming hearing on the United

States’ Motion for Entry of Final Judgment, the amici may present witness testimony and that the

United States and defendants may then provide rebuttal testimony. See Dkt. No. 70. To prepare

for this hearing, the United States respectfully moves that the Court incorporate the United

States’ Complaint, Proposed Final Judgment, Competitive Impact Statement, Explanation of

Consent Decree Procedures, and Response to Public Comments (collectively, the “Tunney Act

Materials”), filed with the Court as Dkt. Nos. 1, 2-1, 3, 2, and 56, respectively, as part of the

evidentiary record for the purpose of the public interest determination before this Court.

       The Tunney Act Materials provide substantial information to the Court to assist with its

review of the proposed final judgment. The Tunney Act expressly provides that the Court may

take these materials into consideration when making its public interest determination. See 15

U.S.C. § 16(f)(4). Indeed, the statute requires the United States to file these materials with the
           Case 1:18-cv-02340-RJL Document 73 Filed 04/18/19 Page 2 of 3
 

Court and states that no other evidence is necessary for the public interest determination. See 15

U.S.C. § 16(e)(2). Consistent with this approach, Courts in prior Tunney Act proceedings have

regularly relied on these materials when finding that proposed judgments are in the public

interest.1 The United States intends to focus its efforts in the upcoming proceedings on testimony

on the topics that may need to be rebutted, following the Courts’ Order of April 8, 2019, Dkt. No.

70. Granting this motion would also enable the United States to rely on undisputed factual

assertions that were covered in its filings to streamline the upcoming hearing.

        For these reasons, the United States respectfully requests that the Court grant this motion

that the Tunney Act Materials will be treated as part of the evidentiary record for the purpose of,

and in support of, a determination that the proposed Final Judgment is in the public interest.

Dated: April 18, 2019

                                                            Respectfully submitted,



                                                                         /s/
                                                            Jay D. Owen
                                                            Jesús M. Alvarado-Rivera
                                                            U.S. Department of Justice
                                                            Antitrust Division
                                                            450 5th Street, NW, Suite 4100
                                                            Washington, D.C. 20530
                                                            Tel.: (202) 598-2987
                                                            Fax: (202) 616-2441
                                                            E-mail: Jay.Owen@usdoj.gov




1
 See, e.g., United States v. Anheuser-Busch Inbev SA/NV and SABMiller PLC, 1:16-cv-01483 (D.D.C. Oct. 10,
2018); United States v. Verso Paper Corp. and NewPage Holdings Inc., 1:14-cv-2216 (D.D.C. Dec. 11, 2015);
United States and Plaintiff States v. Comcast Corp., 1:11-cv-00106 (D.D.C. Feb. 22, 2011); United States v.
KeySpan Corp., 1:10-cv-01415 (S.D.N.Y. Feb. 2, 2011).


                                                     –2–
          Case 1:18-cv-02340-RJL Document 73 Filed 04/18/19 Page 3 of 3
 

                                 CERTIFICATE OF SERVICE

       I, Jay D. Owen, hereby certify that on April 18, 2019, I caused a copy of the foregoing

document to be served upon Plaintiffs State of California, State of Florida, State of Hawaii, State

of Washington, and Defendants CVS Health Corporation and Aetna Inc., via the Court’s

CM/ECF system, and to be served upon Plaintiff State of Mississippi by mailing the document

electronically to its duly authorized legal representative:


Counsel for State of Mississippi:
Crystal Utley Secoy
Consumer Protection Division
Mississippi Attorney General’s Office
P.O. Box 22947
Jackson, Mississippi 39225
Phone: (601) 359-4213
cutle@ago.state.ms.us



                                                                    /s/
                                                       Jay D. Owen
                                                       U.S. Department of Justice
                                                       Antitrust Division
                                                       450 5th Street, NW, Suite 4100
                                                       Washington, D.C. 20530
                                                       Tel.: (202) 598-2987
                                                       Fax: (202) 616-2441
                                                       E-mail: Jay.Owen@usdoj.gov




                                                –3–
